         Exhibit A-1
Total Annual Distributions to Hardwick
                Paid to/for Nat Hardwick
            from MHS               from MHS
year
            operating           trust, escrow, &        combined
             accounts           IOLTA accounts

2011            $1,082,256.14            $193,743.68        $1,275,999.82


2012             $834,710.39           $6,660,383.11        $7,495,093.50


2013            $1,442,833.04         $10,349,820.29       $11,792,653.33

2014            $3,578,101.00          $2,361,580.96        $5,939,681.96
Jan - Aug



total       $6,937,900.57        $19,565,528.04        $26,503,428.61
        Exhibit A-2
Total Monthly Distributions to Hardwick
   Payments from MHS to/for Nat Hardwick
month              monthly total     year-to-date total
January 2011            $18,000.00             $18,000.00
February 2011           $18,000.00             $36,000.00
March 2011              $18,000.00             $54,000.00
April 2011              $81,182.50            $135,182.50
May 2011                $60,000.00            $195,182.50
June 2011               $38,000.00            $233,182.50
July 2011               $28,000.00            $261,182.50
August 2011             $84,905.66            $346,088.16
September 2011          $56,140.64            $402,228.80
October 2011           $109,000.00            $511,228.80
November 2011          $268,743.68            $779,972.48
December 2011          $496,027.34          $1,275,999.82

                                                      Page 1 of 4
   Payments from MHS to/for Nat Hardwick
month              monthly total      year-to-date total
January 2012           $393,195.00             $393,195.00
February 2012          $117,821.00             $511,016.00
March 2012             $330,000.00             $841,016.00
April 2012             $308,000.00           $1,149,016.00
May 2012               $460,430.77           $1,609,446.77
June 2012              $782,336.77           $2,391,783.54
July 2012              $513,805.77           $2,905,589.31
August 2012            $697,930.77           $3,603,520.08
September 2012         $734,930.77           $4,338,450.85
October 2012           $706,567.55           $5,045,018.40
November 2012          $417,930.77           $5,462,949.17
December 2012         $2,032,144.33          $7,495,093.50

                                                       Page 2 of 4
   Payments from MHS to/for Nat Hardwick
month              monthly total      year-to-date total
January 2013           $474,227.92             $474,227.92
February 2013         $1,080,305.78          $1,554,533.70
March 2013            $1,002,930.77          $2,557,464.47
April 2013             $711,375.01           $3,268,839.48
May 2013              $1,096,441.77          $4,365,281.25
June 2013             $1,218,499.40          $5,583,780.65
July 2013              $767,900.93           $6,351,681.58
August 2013           $1,066,427.10          $7,418,108.68
September 2013        $1,229,806.98          $8,647,915.66
October 2013           $705,252.56           $9,353,168.22
November 2013          $537,312.48           $9,890,480.70
December 2013         $1,902,172.63         $11,792,653.33

                                                       Page 3 of 4
   Payments from MHS to/for Nat Hardwick
month              monthly total      year-to-date total
January 2014           $319,352.21             $319,352.21
February 2014          $527,193.99             $846,546.20
March 2014             $853,871.45           $1,700,417.65
April 2014            $1,055,709.99          $2,756,127.64
May 2014               $503,977.57           $3,260,105.21
June 2014             $1,350,375.73          $4,610,480.94
July 2014             $1,206,322.63          $5,816,803.57
August 2014            $122,878.39           $5,939,681.96




                                                       Page 4 of 4
       Exhibit A-3
Month-by-Month Distribution Details
                                 Paid to/for Nat Hardwick
                                       from MHS                   from MHS
 date                 payee            operating           trust, escrow, & IOLTA   combined
                                        accounts                   accounts

01/31/11   Fortuna Service Co.                $18,000.00

 Total
January                                     $18,000.00                    $0.00        $18,000.00
 2011




                                                                                                    Page 1 of 44
                                 Paid to/for Nat Hardwick
                                       from MHS                   from MHS
  date                payee            operating           trust, escrow, & IOLTA   combined
                                        accounts                   accounts

02/01/11   Fortuna Service Co.                $18,000.00

  Total
February                                    $18,000.00                    $0.00        $18,000.00
  2011




                                                                                                    Page 2 of 44
                                 Paid to/for Nat Hardwick
                                       from MHS                   from MHS
 date                 payee            operating           trust, escrow, & IOLTA   combined
                                        accounts                   accounts

03/01/11   Fortuna Service Co.                $18,000.00

Total
March                                       $18,000.00                    $0.00        $18,000.00
2011




                                                                                                    Page 3 of 44
                                 Paid to/for Nat Hardwick
                                       from MHS                   from MHS
 date                 payee            operating           trust, escrow, & IOLTA   combined
                                        accounts                   accounts

04/01/11   Fortuna Service Co.                $18,000.00

04/14/11   Nat Hardwick                        $8,000.00

04/14/11   Nat Hardwick                       $32,000.00
           SunTrust,
04/15/11                                      $10,000.00
           f/b/o Nat Hardwick
04/18/11   Nat Hardwick                        $3,182.50

04/18/11   Nat Hardwick                       $10,000.00

 Total
 April                                      $81,182.50                    $0.00        $81,182.50
 2011




                                                                                                    Page 4 of 44
                                 Paid to/for Nat Hardwick
                                       from MHS                   from MHS
 date                 payee            operating           trust, escrow, & IOLTA   combined
                                        accounts                   accounts
           SunTrust,
05/02/11                                      $10,000.00
           f/b/o Nat Hardwick
05/02/11   Fortuna Service Co.                $18,000.00

05/11/11   Nat Hardwick                       $10,000.00

05/11/11   Nat Hardwick                                                $22,000.00

 Total
 May                                        $38,000.00               $22,000.00        $60,000.00
 2011




                                                                                                    Page 5 of 44
                                 Paid to/for Nat Hardwick
                                       from MHS                   from MHS
 date                 payee            operating           trust, escrow, & IOLTA   combined
                                        accounts                   accounts

06/01/11   Fortuna Service Co.                $18,000.00
           SunTrust,
06/02/11                                      $10,000.00
           f/b/o Nat Hardwick
06/09/11   Nat Hardwick                       $10,000.00

 Total
 June                                       $38,000.00                    $0.00        $38,000.00
 2011




                                                                                                    Page 6 of 44
                                 Paid to/for Nat Hardwick
                                       from MHS                   from MHS
 date                 payee            operating           trust, escrow, & IOLTA   combined
                                        accounts                   accounts

07/01/11   Fortuna Service Co.                $18,000.00

07/05/11   Nat Hardwick                       $10,000.00

 Total
 July                                       $28,000.00                    $0.00        $28,000.00
 2011




                                                                                                    Page 7 of 44
                                 Paid to/for Nat Hardwick
                                       from MHS                   from MHS
 date                 payee            operating           trust, escrow, & IOLTA   combined
                                        accounts                   accounts

08/01/11   Fortuna Service Co.                $18,000.00

08/02/11   Nat Hardwick                        $4,239.00

08/02/11   Nat Hardwick                       $10,000.00

08/24/11   Nat Hardwick                       $10,000.00

08/25/11   Nat Hardwick                       $42,666.66

 Total
August                                      $84,905.66                    $0.00        $84,905.66
 2011




                                                                                                    Page 8 of 44
                                  Paid to/for Nat Hardwick
                                        from MHS                   from MHS
  date                 payee            operating           trust, escrow, & IOLTA   combined
                                         accounts                   accounts

 09/02/11   Nat Hardwick                        $5,000.00

 09/02/11   Nat Hardwick                       $18,000.00

 09/07/11   Nat Hardwick                        $5,070.32

 09/07/11   Nat Hardwick                        $5,070.32

 09/15/11   Nat Hardwick                        $5,000.00

 09/26/11   Fortuna Service Co.                $18,000.00

  Total
September                                    $56,140.64                    $0.00        $56,140.64
  2011




                                                                                                     Page 9 of 44
                                 Paid to/for Nat Hardwick
                                       from MHS                   from MHS
 date                 payee            operating           trust, escrow, & IOLTA   combined
                                        accounts                   accounts

10/01/11   Fortuna Service Co.                $18,000.00

10/03/11   Nat Hardwick                        $5,000.00

10/05/11   Nat Hardwick                       $42,000.00

10/11/11   Nat Hardwick                        $5,000.00

10/17/11   Julie Callaway                      $5,000.00

10/17/11   Nat Hardwick                       $21,087.14

10/18/11   Nat Hardwick                        $3,912.86

10/18/11   Nat Hardwick                        $4,000.00

10/27/11   Nat Hardwick                        $5,000.00

 Total
October                                    $109,000.00                    $0.00       $109,000.00
 2011




                                                                                                Page 10 of 44
                                  Paid to/for Nat Hardwick
                                        from MHS                   from MHS
  date                 payee            operating           trust, escrow, & IOLTA   combined
                                         accounts                   accounts

 11/01/11   Fortuna Service Co.                $18,000.00

 11/01/11   Nat Hardwick                       $30,000.00

 11/02/11   Nat Hardwick                       $50,000.00

 11/09/11   Nat Hardwick                      $144,000.00

 11/10/11   Nat Hardwick                                                $21,743.68

 11/15/11   Nat Hardwick                        $5,000.00

  Total
November                                    $247,000.00               $21,743.68       $268,743.68
  2011




                                                                                                 Page 11 of 44
                                  Paid to/for Nat Hardwick
                                        from MHS                   from MHS
  date                 payee            operating           trust, escrow, & IOLTA   combined
                                         accounts                   accounts

 12/01/11   Julie Callaway                      $5,000.00

 12/01/11   Fortuna Service Co.                $18,000.00

 12/02/11   Julie Callaway                     $25,000.00

 12/02/11   Nat Hardwick                       $81,000.00

 12/08/11   Julie Callaway                                              $30,000.00

 12/09/11   Nat Hardwick                                               $120,000.00

 12/21/11   Moriah Mills                        $1,000.00

 12/21/11   Katrena Corcoran                    $1,500.00

 12/21/11   Nat Hardwick                        $5,000.00

 12/21/11   Bryan Carroll                      $22,050.00

 12/21/11   Julie Callaway                     $52,783.00

 12/22/11   Nat Hardwick                       $17,027.34

 12/23/11   Nat Hardwick                       $17,667.00

 12/28/11   Nat Hardwick                      $100,000.00

  Total
December                                    $346,027.34             $150,000.00        $496,027.34
  2011
 Total
                                         $1,082,256.14             $193,743.68       $1,275,999.82
 2011




                                                                                                 Page 12 of 44
                                 Paid to/for Nat Hardwick
                                       from MHS                   from MHS
 date                 payee            operating           trust, escrow, & IOLTA   combined
                                        accounts                   accounts

01/03/12   Fortuna Service Co.                $18,000.00

01/04/12   Colony Bank                         $5,000.00

01/04/12   Nat Hardwick                       $80,195.00

01/10/12   Nat Hardwick                       $80,000.00

01/11/12   Divot Holdings LLC                $100,000.00

01/12/12   Divot Holdings LLC                                         $100,000.00

01/26/12   Nat Hardwick                       $10,000.00

 Total
January                                    $293,195.00             $100,000.00        $393,195.00
 2012




                                                                                                Page 13 of 44
                                Paid to/for Nat Hardwick
                                      from MHS                   from MHS
  date                payee           operating           trust, escrow, & IOLTA   combined
                                       accounts                   accounts

02/01/12   Divot Holdings LLC                                         $10,000.00

02/03/12   Nat Hardwick                                               $15,000.00

02/03/12   Julie Callaway                                             $25,000.00

02/14/12   Colony Bank                                                 $5,000.00

02/21/12   Divot Holdings LLC                                         $62,821.00

  Total
February                                          $0.00           $117,821.00        $117,821.00
  2012




                                                                                               Page 14 of 44
                                 Paid to/for Nat Hardwick
                                       from MHS                   from MHS
 date                 payee            operating           trust, escrow, & IOLTA   combined
                                        accounts                   accounts

03/01/12   Fortuna Service Co.                $18,000.00

03/01/12   Divot Holdings LLC                                          $20,000.00

03/05/12   Colony Bank                                                  $5,000.00

03/05/12   Divot Holdings LLC                                          $30,000.00

03/05/12   Julie Callaway                                              $25,000.00

03/16/12   Divot Holdings LLC                                          $52,000.00

03/19/12   Divot Holdings LLC                                          $50,000.00

03/19/12   Julie Callaway                                              $50,000.00

03/26/12   Divot Holdings LLC                                          $80,000.00

Total
March                                       $18,000.00             $312,000.00        $330,000.00
2012




                                                                                                Page 15 of 44
                                 Paid to/for Nat Hardwick
                                       from MHS                   from MHS
 date                 payee            operating           trust, escrow, & IOLTA   combined
                                        accounts                   accounts

04/02/12   Fortuna Service Co.                $18,000.00

04/03/12   Divot Holdings LLC                                          $50,000.00

04/04/12   Julie Callaway                                              $50,000.00

04/09/12   Divot Holdings LLC                                          $70,000.00

04/13/12   Divot Holdings LLC                                          $40,000.00

04/20/12   Nat Hardwick                                                $15,000.00

04/20/12   Divot Holdings LLC                                          $25,000.00

04/27/12   Divot Holdings LLC                                          $40,000.00

 Total
 April                                      $18,000.00             $290,000.00        $308,000.00
 2012




                                                                                                Page 16 of 44
                                 Paid to/for Nat Hardwick
                                       from MHS                   from MHS
 date                 payee            operating           trust, escrow, & IOLTA   combined
                                        accounts                   accounts

05/01/12   Fortuna Service Co.                $14,930.77

05/01/12   Fortuna Service Co.                $18,000.00

05/03/12   Divot Holdings LLC                                          $30,000.00

05/04/12   Julie Callaway                                              $50,000.00

05/09/12   Divot Holdings LLC                                          $65,000.00

05/16/12   Divot Holdings LLC                                          $30,000.00

05/17/12   Divot Holdings LLC                                          $90,000.00

05/25/12   Divot Holdings LLC                                          $60,000.00

05/29/12   Divot Holdings LLC                                          $50,000.00

05/30/12   Divot Holdings LLC                                          $52,500.00

 Total
 May                                        $32,930.77             $427,500.00        $460,430.77
 2012




                                                                                                Page 17 of 44
                                 Paid to/for Nat Hardwick
                                       from MHS                   from MHS
 date                 payee            operating           trust, escrow, & IOLTA   combined
                                        accounts                   accounts

06/01/12   Divot Holdings LLC                                          $30,000.00

06/01/12   Fortuna Service Co.                $32,930.77

06/04/12   Julie Callaway                                              $50,000.00

06/07/12   Divot Holdings LLC                                         $114,406.00

06/15/12   Divot Holdings LLC                                         $160,000.00

06/21/12   Divot Holdings LLC                                         $120,000.00

06/28/12   Divot Holdings LLC                                          $25,000.00

06/29/12   The Cosmopolitan                  $250,000.00

 Total
 June                                      $282,930.77             $499,406.00        $782,336.77
 2012




                                                                                                Page 18 of 44
                                 Paid to/for Nat Hardwick
                                       from MHS                   from MHS
 date                 payee            operating           trust, escrow, & IOLTA   combined
                                        accounts                   accounts

07/02/12   Fortuna Service Co.                $32,930.77

07/05/12   Nat Hardwick                                                $15,000.00

07/06/12   Julie Callaway                                              $50,000.00

07/06/12   Divot Holdings LLC                                         $100,875.00

07/13/12   Divot Holdings LLC                                          $90,000.00

07/19/12   Divot Holdings LLC                                         $125,000.00

07/27/12   Divot Holdings LLC                                         $100,000.00

 Total
 July                                       $32,930.77             $480,875.00        $513,805.77
 2012




                                                                                                Page 19 of 44
                                 Paid to/for Nat Hardwick
                                       from MHS                   from MHS
 date                 payee            operating           trust, escrow, & IOLTA   combined
                                        accounts                   accounts

08/01/12   Fortuna Service Co.                $32,930.77

08/03/12   Julie Callaway                                              $50,000.00

08/06/12   Colony Bank                                                 $25,000.00

08/09/12   Divot Holdings LLC                                          $40,000.00

08/17/12   Divot Holdings LLC                                         $150,000.00

08/24/12   Divot Holdings LLC                                         $250,000.00

08/30/12   Phoenix PCB LLC                                             $84,668.71

08/31/12   Divot Holdings LLC                                          $65,331.29

 Total
August                                      $32,930.77             $665,000.00        $697,930.77
 2012




                                                                                                Page 20 of 44
                                   Paid to/for Nat Hardwick
                                          from MHS                   from MHS
  date                 payee              operating           trust, escrow, & IOLTA   combined
                                           accounts                   accounts

 09/04/12   Fortuna Service Co.                  $32,930.77
            JCC LLC, d/b/a Harrah's New
 09/06/12                                                                $102,000.00
            Orleans Casino
 09/07/12   Julie Callaway                                                $50,000.00

 09/14/12   Divot Holdings LLC                                           $100,000.00

 09/20/12   First Citizens Bank                                          $100,000.00

 09/20/12   The Cosmopolitan                                             $250,000.00

 09/27/12   The Cosmopolitan                                             $100,000.00

  Total
September                                      $32,930.77             $702,000.00        $734,930.77
  2012




                                                                                                   Page 21 of 44
                                 Paid to/for Nat Hardwick
                                       from MHS                   from MHS
 date                 payee            operating           trust, escrow, & IOLTA   combined
                                        accounts                   accounts

10/01/12   Fortuna Service Co.                $32,930.77

10/05/12   Julie Callaway                                              $50,000.00

10/05/12   Divot Holdings LLC                                         $100,000.00

10/12/12   Divot Holdings LLC                                         $173,636.78

10/17/12   Divot Holdings LLC                                         $240,000.00

10/26/12   Divot Holdings LLC                                         $110,000.00

 Total
October                                     $32,930.77             $673,636.78        $706,567.55
 2012




                                                                                                Page 22 of 44
                                  Paid to/for Nat Hardwick
                                        from MHS                   from MHS
  date                 payee            operating           trust, escrow, & IOLTA   combined
                                         accounts                   accounts

 11/02/12   Julie Callaway                                              $50,000.00

 11/02/12   First Citizens Bank                                         $60,000.00

 11/14/12   Divot Holdings LLC                                         $150,000.00

 11/30/12   Colony Bank                         $5,000.00

 11/30/12   Fortuna Service Co.                $32,930.77

 11/30/12   Divot Holdings LLC                                         $120,000.00

  Total
November                                     $37,930.77             $380,000.00        $417,930.77
  2012




                                                                                                 Page 23 of 44
                                   Paid to/for Nat Hardwick
                                           from MHS                   from MHS
  date                 payee               operating           trust, escrow, & IOLTA   combined
                                            accounts                   accounts

 12/07/12   Julie Callaway                                                 $62,144.33

 12/07/12   Divot Holdings LLC                                            $100,000.00

 12/12/12   First Citizens Bank                                            $60,000.00

 12/13/12   Divot Holdings LLC                                            $560,000.00

 12/20/12   Colony Bank                           $20,000.00

 12/21/12   Divot Holdings LLC                                            $230,000.00

 12/21/12   The Cosmopolitan                                              $250,000.00
            Angel Oak Strategic Mortgage
 12/21/12                                                                 $400,000.00
            Income Fund
 12/26/12   The Cosmopolitan                                              $250,000.00

 12/31/12   The Cosmopolitan                                              $100,000.00

  Total
December                                        $20,000.00            $2,012,144.33      $2,032,144.33
  2012
 Total
                                              $834,710.39           $6,660,383.11       $7,495,093.50
 2012




                                                                                                     Page 24 of 44
                                 Paid to/for Nat Hardwick
                                       from MHS                   from MHS
 date                 payee            operating           trust, escrow, & IOLTA   combined
                                        accounts                   accounts

01/02/13   Colony Bank                        $10,000.00

01/02/13   Fortuna Service Co.                $32,930.77

01/03/13   Nat Hardwick                                                $21,297.15

01/04/13   Julie Callaway                                              $50,000.00

01/10/13   First Citizens Bank                                         $60,000.00

01/23/13   Renasant Bank                                              $150,000.00

01/31/13   Divot Holdings LLC                                         $150,000.00

 Total
January                                     $42,930.77             $431,297.15        $474,227.92
 2013




                                                                                                Page 25 of 44
                                 Paid to/for Nat Hardwick
                                       from MHS                   from MHS
  date                payee            operating           trust, escrow, & IOLTA   combined
                                        accounts                   accounts

02/01/13   Colony Bank                        $10,000.00

02/01/13   Fortuna Service Co.                $32,930.77

02/05/13   Fortuna Service Co.                $50,930.77

02/13/13   NetJets                                                     $33,444.24

02/13/13   Julie Callaway                                              $50,000.00

02/13/13   First Citizens Bank                                         $60,000.00

02/15/13   Divot Holdings LLC                                         $100,000.00

02/21/13   Campbell & Brannon LLC                                     $680,000.00

02/27/13   American Express                                            $63,000.00

  Total
February                                    $93,861.54             $986,444.24      $1,080,305.78
  2013




                                                                                                Page 26 of 44
                                 Paid to/for Nat Hardwick
                                       from MHS                   from MHS
 date                 payee            operating           trust, escrow, & IOLTA   combined
                                        accounts                   accounts

03/01/13   Colony Bank                        $10,000.00

03/01/13   Fortuna Service Co.                $32,930.77

03/01/13   Divot Holdings LLC                                         $100,000.00

03/04/13   Julie Callaway                                              $50,000.00

03/05/13   Nat Hardwick                                                $50,000.00

03/08/13   Divot Holdings LLC                                         $350,000.00

03/14/13   First Citizens Bank                                         $60,000.00

03/19/13   The Cosmopolitan                                           $350,000.00

Total
March                                       $42,930.77             $960,000.00      $1,002,930.77
2013




                                                                                                Page 27 of 44
                                 Paid to/for Nat Hardwick
                                       from MHS                   from MHS
 date                 payee            operating           trust, escrow, & IOLTA   combined
                                        accounts                   accounts

04/01/13   Colony Bank                        $10,000.00

04/01/13   Fortuna Service Co.                $32,930.77

04/03/13   NetJets                                                     $33,444.24

04/03/13   First Citizens Bank                                         $60,000.00

04/05/13   Julie Callaway                                              $50,000.00

04/05/13   Divot Holdings LLC                                          $75,000.00

04/12/13   Divot Holdings LLC                                         $150,000.00

04/16/13   Divot Holdings LLC                                         $100,000.00

04/19/13   Divot Holdings LLC                                         $100,000.00

04/26/13   Divot Holdings LLC                                         $100,000.00

 Total
 April                                      $42,930.77             $668,444.24        $711,375.01
 2013




                                                                                                Page 28 of 44
                                  Paid to/for Nat Hardwick
                                          from MHS                   from MHS
 date                 payee               operating           trust, escrow, & IOLTA   combined
                                           accounts                   accounts

05/01/13   Colony Bank                           $10,000.00

05/01/13   Fortuna Service Co.                   $32,930.77

05/03/13   Julie Callaway                                                 $50,000.00

05/03/13   First Citizens Bank                                            $60,000.00

05/03/13   Divot Holdings LLC                                            $150,000.00

05/08/13   Divot Holdings LLC                                            $200,000.00

05/10/13   Nat Hardwick                                                   $15,000.00

05/17/13   Divot Holdings LLC                                            $231,011.00
           Angel Oak Strategic Mortgage
05/24/13                                                                 $100,000.00
           Income Fund
05/24/13   Divot Holdings LLC                                            $147,500.00
           Angel Oak Strategic Mortgage
05/29/13                                                                 $100,000.00
           Income Fund
 Total
 May                                           $42,930.77            $1,053,511.00     $1,096,441.77
 2013




                                                                                                   Page 29 of 44
                                 Paid to/for Nat Hardwick
                                       from MHS                   from MHS
 date                 payee            operating           trust, escrow, & IOLTA   combined
                                        accounts                   accounts

06/03/13   Nat Hardwick                                                 $7,013.15

06/03/13   Colony Bank                        $10,000.00

06/03/13   Fortuna Service Co.                $32,930.77

06/03/13   NetJets                                                     $33,444.24

06/03/13   First Citizens Bank                                         $60,000.00

06/07/13   Julie Callaway                                              $50,000.00

06/12/13   NetJets                                                     $33,444.24

06/14/13   Divot Holdings LLC                                         $150,000.00

06/17/13   The Cosmopolitan                                           $500,000.00

06/21/13   The Cosmopolitan                                           $100,000.00

06/21/13   Divot Holdings LLC                                         $150,000.00

06/28/13   Divot Holdings LLC                                          $91,667.00

 Total
 June                                       $42,930.77            $1,175,568.63     $1,218,499.40
 2013




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                                 Paid to/for Nat Hardwick
                                       from MHS                   from MHS
 date                 payee            operating           trust, escrow, & IOLTA   combined
                                        accounts                   accounts

07/01/13   Colony Bank                        $10,000.00

07/01/13   Fortuna Service Co.                $32,930.77

07/01/13   First Citizens Bank                                         $65,000.00

07/01/13   Julie Callaway                                             $109,886.09

07/05/13   NetJets                                                     $33,444.24

07/05/13   Divot Holdings LLC                                         $300,000.00

07/19/13   Divot Holdings LLC                                         $216,639.83

 Total
 July                                       $42,930.77             $724,970.16        $767,900.93
 2013




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                                 Paid to/for Nat Hardwick
                                       from MHS                   from MHS
 date                 payee            operating           trust, escrow, & IOLTA   combined
                                        accounts                   accounts

08/01/13   Colony Bank                        $10,000.00

08/01/13   Fortuna Service Co.                $32,930.77

08/02/13   NetJets                                                     $33,444.24

08/02/13   UBS                                                        $150,000.00

08/02/13   Divot Holdings LLC                                         $200,000.00

08/05/13   SunTrust                           $55,000.00

08/07/13   Beau Rivage Casino                                         $250,000.00

08/09/13   Beau Rivage Casino                                         $100,000.00

08/16/13   Nat Hardwick                                                $25,104.47

08/20/13   SunTrust                            $9,947.62

08/30/13   Divot Holdings LLC                                         $200,000.00

 Total
August                                     $107,878.39             $958,548.71      $1,066,427.10
 2013




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                                  Paid to/for Nat Hardwick
                                        from MHS                   from MHS
  date                    payee         operating           trust, escrow, & IOLTA   combined
                                         accounts                   accounts

 09/03/13   Colony Bank                        $10,000.00

 09/03/13   Fortuna Service Co.                $32,930.77

 09/06/13   SunTrust                            $9,947.62

 09/06/13   NetJets                                                     $34,444.24

 09/06/13   SunTrust                           $55,000.00

 09/10/13   Apollo Jets                                                 $45,099.00

 09/10/13   Beau Rivage Casino                                         $150,000.00

 09/13/13   Beau Rivage Casino                                         $100,000.00

 09/20/13   Apollo Jets                                                 $80,000.00

 09/20/13   Divot Holdings LLC                                         $150,000.00

 09/23/13   The Cosmopolitan                                           $500,000.00

 09/25/13   Nat Hardwick                                                $62,385.35

  Total
September                                   $107,878.39            $1,121,928.59     $1,229,806.98
  2013




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                                 Paid to/for Nat Hardwick
                                       from MHS                     from MHS
 date                    payee         operating             trust, escrow, & IOLTA   combined
                                        accounts                     accounts

10/01/13   Fortuna Service Co.                $32,930.77

10/01/13   NetJets                                                       $33,444.24

10/04/13   SunTrust                            $9,947.62

10/04/13   SunTrust                           $55,000.00

10/09/13   Nat Hardwick                            $994.93

10/11/13   UBS                                                          $100,000.00

10/11/13   Divot Holdings LLC                                           $200,000.00

10/15/13   Apollo Jets                                                   $72,935.00

10/16/13   The Cosmopolitan                                             $200,000.00

 Total
October                                     $98,873.32               $606,379.24        $705,252.56
 2013




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                                  Paid to/for Nat Hardwick
                                        from MHS                   from MHS
  date                    payee         operating           trust, escrow, & IOLTA   combined
                                         accounts                   accounts

 11/01/13   Colony Bank                        $10,000.00

 11/01/13   Fortuna Service Co.                $32,930.77

 11/05/13   NetJets                                                     $33,444.24

 11/08/13   Divot Holdings LLC                                          $50,000.00

 11/08/13   Beau Rivage Casino                                         $300,000.00

 11/13/13   SunTrust                           $55,000.00

 11/15/13   Apollo Jets                                                 $45,989.85

 11/18/13   SunTrust                            $9,947.62

  Total
November                                    $107,878.39             $429,434.09        $537,312.48
  2013




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                                  Paid to/for Nat Hardwick
                                        from MHS                   from MHS
  date                    payee         operating           trust, escrow, & IOLTA    combined
                                         accounts                   accounts

 12/02/13   Colony Bank                        $10,000.00

 12/02/13   Fortuna Service Co.                $32,930.77

 12/02/13   NetJets                                                     $33,444.24

 12/03/13   SunTrust                            $9,947.62

 12/03/13   Divot Holdings LLC                                         $200,000.00

 12/04/13   SunTrust                           $55,000.00

 12/11/13   Apollo Jets                        $61,000.00

 12/11/13   The Cosmopolitan                  $500,000.00

 12/23/13   Divot Holdings LLC                                         $999,850.00

  Total
December                                    $668,878.39            $1,233,294.24       $1,902,172.63
  2013
 Total
                                         $1,442,833.04          $10,349,820.29       $11,792,653.33
 2013




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                                 Paid to/for Nat Hardwick
                                       from MHS                   from MHS
 date                 payee            operating           trust, escrow, & IOLTA   combined
                                        accounts                   accounts

01/02/14   Colony Bank                        $10,000.00

01/02/14   Fortuna Service Co.                $32,930.77

01/08/14   NetJets                                                     $33,444.24

01/14/14   Divot Holdings LLC                $187,977.20

01/16/14   SunTrust                           $55,000.00

 Total
January                                    $285,907.97               $33,444.24       $319,352.21
 2014




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                                 Paid to/for Nat Hardwick
                                       from MHS                   from MHS
  date                payee            operating           trust, escrow, & IOLTA   combined
                                        accounts                   accounts

02/03/14   Colony Bank                        $10,000.00

02/03/14   Fortuna Service Co.                $32,930.77

02/03/14   NetJets                                                     $33,444.24

02/03/14   SunTrust                           $55,000.00

02/05/14   Divot Holdings LLC                                           $2,000.00

02/05/14   Colony Bank                        $30,000.00

02/07/14   Divot Holdings LLC                $250,000.00

02/14/14   Divot Holdings LLC                                         $113,818.98

  Total
February                                   $377,930.77             $149,263.22        $527,193.99
  2014




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                                 Paid to/for Nat Hardwick
                                       from MHS                   from MHS
 date                    payee         operating           trust, escrow, & IOLTA   combined
                                        accounts                   accounts

03/03/14   Divot Holdings LLC                 $18,363.44

03/03/14   SunTrust                           $55,000.00

03/04/14   Colony Bank                        $25,000.00

03/04/14   Fortuna Service Co.                $32,930.77

03/04/14   NetJets                                                     $33,444.24

03/14/14   Divot Holdings LLC                $255,974.00

03/20/14   Apollo Jets                                                 $43,159.00

03/20/14   Beau Rivage Casino                                         $300,000.00

03/24/14   Beau Rivage Casino                                          $90,000.00

Total
March                                      $387,268.21             $466,603.24        $853,871.45
2014




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                                 Paid to/for Nat Hardwick
                                       from MHS                   from MHS
 date                    payee         operating           trust, escrow, & IOLTA   combined
                                        accounts                   accounts

04/01/14   Colony Bank                        $25,000.00

04/01/14   Fortuna Service Co.                $32,930.77

04/01/14   SunTrust                           $55,000.00

04/03/14   NetJets                                                     $33,444.24

04/03/14   Divot Holdings LLC                                         $300,000.00

04/16/14   Apollo Jets                                                 $35,318.40

04/18/14   Divot Holdings LLC                                         $199,980.00

04/29/14   Apollo Jets                                                 $37,463.03

04/30/14   Apollo Jets                                                  $8,158.05

04/30/14   Apollo Jets                                                 $28,415.50

04/30/14   Beau Rivage Casino                                         $300,000.00

 Total
 April                                     $112,930.77             $942,779.22      $1,055,709.99
 2014




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                                 Paid to/for Nat Hardwick
                                       from MHS                   from MHS
 date                    payee         operating           trust, escrow, & IOLTA   combined
                                        accounts                   accounts

05/01/14   Colony Bank                        $25,000.00

05/01/14   Fortuna Service Co.                $32,930.77

05/01/14   SunTrust                           $55,000.00

05/02/14   NetJets                                                     $33,444.24

05/05/14   Divot Holdings LLC                                          $22,491.00

05/21/14   Divot Holdings LLC                                          $12,314.56

05/21/14   Apollo Jets                                                 $48,493.00

05/23/14   Divot Holdings LLC                                         $219,304.00

05/30/14   SunTrust                           $55,000.00

 Total
 May                                       $167,930.77             $336,046.80        $503,977.57
 2014




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                                 Paid to/for Nat Hardwick
                                       from MHS                   from MHS
 date                    payee         operating           trust, escrow, & IOLTA   combined
                                        accounts                   accounts

06/02/14   Colony Bank                        $25,000.00

06/02/14   Fortuna Service Co.                $32,930.77

06/02/14   NetJets                                                     $33,444.24

06/02/14   SunTrust                           $59,685.72

06/03/14   The Venetian                                               $400,000.00

06/04/14   Apollo Jets                        $96,810.00

06/19/14   Nat Hardwick                       $12,500.00

06/20/14   Divot Holdings LLC                $300,000.00

06/27/14   Divot Holdings LLC                 $68,653.00

06/30/14   Divot Holdings LLC                $321,352.00

 Total
 June                                      $916,931.49             $433,444.24      $1,350,375.73
 2014




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                                  Paid to/for Nat Hardwick
                                         from MHS                   from MHS
 date                 payee              operating           trust, escrow, & IOLTA   combined
                                          accounts                   accounts

07/01/14   Colony Bank                          $25,000.00

07/01/14   Fortuna Service Co.                  $32,930.77

07/01/14   NetJets                              $33,444.24

07/01/14   SunTrust                             $55,000.00

07/02/14   SunTrust                              $9,947.62
           JCC LLC, d/b/a Harrah's New
07/03/14                                       $150,000.00
           Orleans Casino
07/03/14   Divot Holdings LLC                  $200,000.00

07/11/14   Divot Holdings LLC                  $300,000.00

07/17/14   Divot Holdings LLC                  $400,000.00

 Total
 July                                      $1,206,322.63                    $0.00     $1,206,322.63
 2014




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                                 Paid to/for Nat Hardwick
                                       from MHS                   from MHS
 date                 payee            operating           trust, escrow, & IOLTA   combined
                                        accounts                   accounts

08/01/14   SunTrust                            $9,947.62

08/01/14   Colony Bank                        $25,000.00

08/01/14   Fortuna Service Co.                $32,930.77

08/01/14   SunTrust                           $55,000.00

 Total
August                                     $122,878.39                    $0.00       $122,878.39
 2014
Total
                                        $3,578,101.00           $2,361,580.96       $5,939,681.96
2014




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